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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           CASE NO. 1:02-cr-00043-MP -GRJ

FREDDIE LEE MURPHY,

       Defendant.

_____________________________/

                                           ORDER

       This matter is before the Court on Doc. 551, Motion for BOP Designation Judicial

Recommendation by Freddie Lee Murphy. Defendant moves the Court to make a judicial

recommendation that he be designated to a Bureau of Prisons facility near Gainesville, Florida,

to enable him to have continuing contact with his family. The government has no objection to

the motion. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      The Motion for BOP Designation is GRANTED.

       2.      The Court recommends that Defendant Murphy be designated to a Bureau of
               Prisons facility near Gainesville, Florida.

       3.      The Clerk is directed to send a copy of this order to the Bureau of Prisons.


       DONE AND ORDERED this 6th day of May, 2011


                                        s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
